       Case 14-50333-gs          Doc 166     Entered 08/14/14 15:15:30         Page 1 of 3


  1

  2

  3

  4
   Entered on Docket
   5August 14, 2014
___________________________________________________________________
  6

  7   Timothy A. Lukas, Esq. (NV Bar No. 4678)
      Joseph G. Went, Esq. (NV Bar No. 9220)
  8   HOLLAND & HART LLP
      9555 Hillwood Drive, 2nd Floor
  9   Las Vegas, Nevada 89134
      Tel: (702) 669-4600
 10   Fax: (702) 669-4650
      Email: jgwent@hollandhart.com
 11
      Attorneys for John Beach, Trustee of the
 12   Beach Living Trust dated January 22, 1999

 13                              UNITED STATES BANKRUPTCY COURT

 14                                         DISTRICT OF NEVADA

 15    In re:                                                     Case No.: BK-N-14-50333-btb
                                                                  Chapter: 11
 16    ANTHONY THOMAS and WENDI THOMAS
                                                                  [Lead Case – Jointly Administered]
 17
             Affects AT EMERALD, LLC                             Case No.: BK-N-14-50331-btb
 18          Affects all Debtors                                 Chapter: 11

 19                                                               ORDER RE: SAFEGUARD
                                                                  ESTATE ASSETS AND GRANTING
 20                                                               SHORTENED TIME TO HEAR
                                                                  MOTION TO APPOINT A
                                                                  TRUSTEE
 21
                                                               Hearing Date: August 11, 2014
 22
                                                                  Hearing Time: 11:00 a.m.
 23

 24             The Court held a status conference regarding: (1) the sale of the estate asset identified in
 25   the Debtor’s Motion to Sell Assets Free And Clear of Liens [Dkt# 83] approved at the hearing
 26   held on July 1, 2014, by entry of the Court’s order entered on July 23, 2014 [Dkt# 142], and (2) a
 27   status update on the compliance with the terms of the Court’s order dated August 5, 2014 [Dkt#
 28   157] concerning inspection of the estate asset. The Debtor appeared, by and through its attorney,

                                                    Page 1 of 3
      7045913_2
      Case 14-50333-gs         Doc 166     Entered 08/14/14 15:15:30       Page 2 of 3


 1   Holly E. Estes, Esq. of the Law Offices of Alan R. Smith, but no representative of the Debtor

 2   appeared..      Creditor, the Beach Living Trust dated January 22, 1999 (the “Beach Trust”),

 3   appeared by and through its attorney, Timothy A. Lukas, Esq. of the law firm of Holland & Hart

 4   LLP. The Office of the United States Trustee, appeared by and through its counsel, William B.

 5   Cossitt, Esq.

 6           Counsel for the Beach Trust reported to the Court that the Debtor’s principle did not

 7   comply with the Court’s order dated August 5, 2014 [Dkt# 157] concerning inspection of the

 8   estate asset because he failed to turn over the vault key as ordered. Debtor’s counsel was unable

 9   to provide any additional information or progress on the sale. . Counsel for the Beach Trust then

10   made an oral motion requesting an order restricting further access to the estate’s vault space at

11   the Sarasota Vault wherein a valuable asset is alleged to be stored absent further order of the

12   Court in order to protect the asset and its value for the estate. Counsel for the Debtor informed

13   the Court that their office had previously sent a letter to counsel for the Sarasota Vault regarding

14   the same issue, so they had no objection to an order from the Court to insure preservation of the

15   asset pending final orders for its disposition or further access.

16           Counsel for the Breach Trust made an oral motion for shortening time to hear a motion

17   for appointment of a chapter 11 trustee given the lack of any information concerning the sale’s

18   progress,    the Debtor’s disregard for the Court’s order dated August 5, 2014, and the need to

19   preserve asset’s value for the estate and its creditors.

20           IT IS HEREBY ORDERED that:

21           1.       The Sarasota Vault shall immediately deny and no longer grant access to the

22   Debtor’s rented vault area and its assets stored therein, including but not limited to the emerald

23   represented as being stored therein by the Debtor, absent further order of this Court.

24           2.       A hearing on the Beach Trust’s Motion to Appoint a Chapter 11 Trustee (the

25   “Motion”) shall be held before the Court on August 22, 2014 at 2:00 p.m. Any objections to the

26   Motion shall be filed and served no later than 4:00 p.m. on August 19, 2014, and any response to

27   any objection shall be filed and served no later than 1:00 p.m. on August 21, 2014.

28           3.       The Debtor’s principle, Anthony Thomas, must appear and attend the hearing


                                                  Page 2 of 3
     7045913_2
      Case 14-50333-gs         Doc 166      Entered 08/14/14 15:15:30          Page 3 of 3


 1   August 22, 2014, in order to provide testimony and facts concerning the Debtor’s operations,

 2   activities and issues regarding the sales process of the emerald.

 3           4.       Wendi Thomas must appear and attend the hearing August 22, 2014, in order to

 4   provide testimony and facts concerning the Debtor’s operations, activities and issues regarding

 5   the sales process of the emerald.

 6           IT IS SO ORDERED

 7
     SUBMITTED BY:
 8
          /s/ Timothy A. Lukas
 9   TIMOTHY A. LUKAS, ESQ.
10
     APPROVED:                                                APPROVED:
11
          /s/ Holly E. Estes                                       /s/ William B. Cossitt
12   HOLLY E. ESTES, attorney for Debtor                      WILLIAM B. COSSITT, ESQ., #3484
                                                              Trial Attorney for US Trustee
13                                                            Tracy Hope Davis
14
     In accordance with LR 9021, counsel submitting this document certifies as follows (check one):
15

16   ___ The court has waived the requirement set forth in LR 9021(b)(1).

17   ___ No party appeared at the hearing or filed an objection to the motion.

18   _X_ I have delivered a copy of this proposed order to all counsel who appeared at the hearing, and
     each has approved or disapproved the order, or failed to respond, as indicated below:
19
     Attorney/Party                                                    Approved Disapproved Failed to
20                                                                                          Respond
21   Holly E. Estes, Esq., attorney for the Debtor                     X
     William B. Cossitt, Esq., OUST                                    X
22

23   ___ I certify that this is a case under chapter 7 or 13, that I have served a copy of this order with the
     motion pursuant to LR 9014(g), and that no party has objected to the form or content of the order.
24

25                                                      ###
26

27

28


                                                     Page 3 of 3
     7045913_2
